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  1
                            IN THE UNITED STATES DISTRICT COURT
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                            IN AND FOR THE DISTRICT OF DELAWARE
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  4   INTERNATIONAL BUSINESS MACHINES               )
      CORPORATION,                                  )
  5                 Plaintiff,                      )
      v.                                            )   C.A. No.
  6                                                 )   22-cv-590-GBW
      ZYNGA INC., and CHARTBOOST, INC.,             )
  7                                                 )
                      Defendant.                    )
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 11                                Wilmington, Delaware
                                   Friday, December 2, 2022
 12                                Discovery Teleconference

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 15     BEFORE:    HONORABLE GREGORY B. WILLIAMS
                   UNITED STATES DISTRICT COURT JUDGE
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                                                Michele L. Rolfe, RPR, CRR
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        APPEARANCES:
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  3                         POTTER, ANDERSON & CORROON LLP
                            BY: DAVID ELLIS MOORE, ESQ.
  4
                                  -and-
  5
                            DESMARAIS LLP
  6                         BY: JORDAN N. MALZ, ESQ.

  7                               For the Plaintiff

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  9                         FARNAN LLP
                            BY: MICHAEL FARNAN, ESQ.
 10
                                  -and-
 11
                            ORRICK, HERRINGTON & SUTCLIFFE LLP
 12                         BY: GEOFFREY MOSS, ESQ.

 13                               For the Defendant

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  1                          P R O C E E D I N G S

  2             (REPORTER'S NOTE:      The following teleconference was

  3     held telephonically beginning at 2:00 p.m.)

  4                   THE COURT:    Good afternoon.

  5                   ALL COUNSEL:     Good afternoon, Your Honor.

  6                   THE COURT:    All right.    Do we have everyone on

  7     the line that we need on the line?

  8                   MR. MOORE:    For plaintiff, we do, Your Honor.

  9                   THE COURT:    Okay.   For Zynga?

 10                   MR. FARNAN:    Yes, Your Honor, we do.

 11                   THE COURT:    All right.    So we are here for the

 12     discovery dispute in IBM Corp. versus Zynga, Inc.           Civil

 13     Action No. 22-590.

 14                   Let's start by having counsel put their

 15     appearance on the record.

 16                   MR. MOORE:    Good afternoon, David Moore from

 17     Potter Anderson on behalf of plaintiff.

 18                   I'm joined by Jordan Malz from Desmarais firm

 19     and Mr. Malz will be presents for IBM today.

 20                   MR. MALZ:    Good afternoon, Your Honor.

 21                   THE COURT:    All right.    For Zynga?

 22                   Counsel for Zynga on the line?

 23                   MR. FARNAN:    Yes, Your Honor.      Michael Farnan

 24     for the defendant.      And with me today is Geoffrey Moss from

 25     Orrick and Mr. Moss will take the lead this afternoon.
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  1                   MR. MOSS:    Good afternoon, yes, Your Honor.

  2                   THE COURT:    Okay.   Good afternoon.

  3                   All right.    So I've reviewed the parties'

  4     submissions and I am ready to rule.

  5                   The Court has reviewed the parties' respective

  6     letter briefs regarding the discovery dispute, D.I. 76 and

  7     D.I. 77, and held a discovery teleconference on December 2,

  8     2022.   It is hereby ordered that the defendants Zynga, Inc.,

  9     and ChartBoost Inc., collectively Zynga, shall produce

 10     source code and other core technical documents for all of

 11     the accused products in this action; including, but not

 12     limited to, nonpublically available operation manuals,

 13     product literature, schematics and specifications that

 14     sufficiently show how the accused products work.

 15                   It is also hereby ordered that the deadline for

 16     plaintiff International Business Machines Corporation to

 17     submit and issue infringement contentions is extended until

 18     28 days after Zynga completes its production.

 19                   That is the order of the Court.        We'll enter an

 20     oral order on the docket.

 21                   Anything else that we need to discuss while we

 22     have the parties on the line?

 23                   MR. MALZ:    Nothing from plaintiff, Your Honor.

 24                   MR. MOSS:    Your Honor, this is Jeff Moss on

 25     behalf of Zynga.     If the Court would indulge Zynga, a point
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  1     of clarification about the order.

  2                   I want to understand if the Court is ordering

  3     that source code in and of itself is not sufficient to

  4     satisfy the core technical document requirements under

  5     Section 9(d) of the scheduling order because Zynga has --

  6                   THE COURT:    That's right.     You can't just say

  7     the source code -- if their schematic -- if there are

  8     operation manuals, product literature, schematics

  9     specifications, you also have to produce those documents.

 10                   MR. MOSS:    And to be clear, Your Honor, to the

 11     extent there are documents that themselves are not

 12     sufficient to show how the accused products work, the Court

 13     is not ordering that all of those documents need be produced

 14     before the existing deadline for substantial completion of

 15     document production; correct?

 16                   THE COURT:    Ask me that again.      I'm sorry.

 17                   MR. MOSS:    I apologize, that was a mouthful,

 18     Your Honor.

 19                   Zynga's and ChartBoost, there are going to be

 20     some technical documents which will not show all of how a

 21     product works; that the only way to really understand how a

 22     given accused product works is to refer to the source code.

 23     So for those -- that sort of situation where there are

 24     documents which may show some aspect of how a given product

 25     works or aspirationally how a product works, maybe at the
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  1     time it was written, it would seem to Zynga that that sort

  2     of document would be called for by the substantial

  3     completion of document discovery deadline, not by the

  4     deadline to produce core technical documents.

  5                   THE COURT:    No, that's incorrect.      That's

  6     incorrect.    You have to produce those documents -- if they

  7     show some aspect of how the product works you have to

  8     produce those documents as part of the core technical

  9     documents.    That's the whole point of the disclosure

 10     deadline so that all those documents are produced upfront

 11     early in the case.

 12                   MR. MOSS:    Understood, Your Honor.

 13                   And insofar as it is more than sufficient to

 14     show -- is the Court ordering Zynga to produce more than

 15     documents sufficient to show, I guess that's my real

 16     question.

 17                   THE COURT:    The Court is ordering Zynga to

 18     produce source code, operation manuals, product literature,

 19     schematics and specification.       If those documents exist,

 20     they should be produced.       If --

 21                   MR. MOSS:    I --

 22                   THE COURT:    If you think they only show a

 23     portion of the aspect of how the product works, they still

 24     have to be produced.

 25                   You know, just because they don't show how the
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  1     product works in whole, doesn't mean that they don't have to

  2     be produced as a core technical documents.          If they show any

  3     aspect of how the product works, they have to be produced as

  4     part of the core technical documents.

  5                   MR. MOSS:    Thank you for the clarification, Your

  6     Honor.    Nothing else from defendants.

  7                   THE COURT:    All right.    Everyone have a great

  8     weekend.

  9                   ALL COUNSEL:     Thank you, Your Honor.

 10                   (Whereupon, the following proceeding concluded

 11     at 2:09 p.m.)

 12                         I hereby certify the foregoing is a true

 13     and accurate transcript from my stenographic notes in the

 14     proceeding.

 15                                     /s/ Michele L. Rolfe, RPR, CRR
                                             U.S. District Court
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